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 EXHIBIT 74
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2PM Update - E Precinct (see notes)
Where:         701-801-1211; 591-015-294
When:          Wed Jun 10 14:00:00 2020 {America/Los_Angeles)
Until:         Wed Jun 10 15:00:00 2020 {America/Los_Angeles)
Organisers     "Nelson, Laurel" <"/o=exchangelabs/ou=exchange administrative group
               {fydibohf23spdlt)/cn=recipients/cn=f1 bbaebb6f0a4bed808e0303e8b537f0-nelsonl 1">
Required       "Nelson, Laurel" <laurel.nelson@seattle.gov>
Attendees:     "Fong, Michael" <michael.fong@seattle.gov>
               "Ranganathan, Shefali" <shefali.ranganathan@seattle.gov>
               "Sixkiller, Casey" <casey.sixkiller@seattle.gov>
               "Formas, Stephanie" <stephanie.formas@seattle.gov>
               "Auriemma, Anthony'' <anthony.auriemma@seattle.gov>
               "Kline, Julie" <julie.kline@seattle.gov>
               "Aisenberg, Kathryn - MOS" <kathryn.aisenberg2@seattle.gov>
               "Apreza, Ernesto" <ernesto.apreza@seattle.gov>
               "Best, Carmen" <carmen.best@seattle.gov>
               "Mahaffey, Thomas" <thomas.mahaffey@seattle.gov>
               "Diaz, Adrian" <adrian.diaz@seattle.gov>
               "Scoggins, Harold D" <harold.scoggins@seattle.gov>
               "Aguirre, Jesus" <jesus.aguirre@seattle.gov>
               "Hara, Marni" <mami.hara@seattle.gov>
               "Goings, Calvin" <calvin.goings@seattle.gov>
               "Zimbabwe, Sam" <sam.zimbabwe@seattle.gov>
               "Mantilla, Andres" <andres.mantilla@seattle.gov>
               "Neafcy, Kenneth" <kenneth.neafcy@seattle.gov>
Optional       "Grove, Kiersten" <kiersten.grove@seattle.gov>
Attendees:     "Reed, Michelle" <michelle.reed@seattle.gov>
               'Worcester, Ned" <ned.worcester@seattle.gov>
               "Buechler, Chad M" <chad.buechler@seattle.gov>
               "Rivera, Maritza" <maritza.rivera@seattle.gov>
               "Morningstar, Sarah" <sarah.morningstar@seattle.gov>
Attachments:   6-10-20 11 AM E Precinct Call Notes (002).docx (23.81 kB)




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                                     6/10/20 11 AM E Precinct Call Notes

NEXT CALL 2:00 PM:
Situation Update: E Precinct doors are locked and the SAID card system working again, but it doesn't
sound like this has been verified with eyes on scene. Personal Property and some files remain in the E
Precinct Building. There are some reports of group members checking ID or questioning people at
checkpoints.

    1.    Pursue Physical Modifications to Barriers/Footprint
              Negotiations continue. Non-SOOT metal barrier removal began, but group leaders changed
              their mind and metal barriers remain. Unknown how much progress with barrier/footprint
              modification can be made today. Existing street closures remain in place. There is confusion
              among the group leaders on site as to who can make decisions on footprint/barrier removal.
              Looking at setting a planter at 10th and Pine
    2.    Secure the E Precinct Building
              Personal Property and files remain in the building, it is difficult to inventory everything that
              remains.
              SPD is aware that additional police presence could increase tension
              SPU offered to provide a dumpster accessible by minimal staff that could be removed by a
              collection vehicle. SPD will pass the offer on to SPD Incident Command.
              Chief Scoggins and Stephanie Formas past the lobby are still locked. But front doors from
              the street were "green" and unlocked. The rear door was also "green" and unlocked, but
              fencing was in place and undamaged. SPD will follow up on reviewing and verifying locked
              doors.
              FAS continues to defer to SPD on defueling the generator. Defueling the generator seems to
              be of lower concern.
    3.    Encourage conversations between protest groups and the city.
              Efforts continue, led by the Mayor's Office in response to the requests made by groups on
              site.
    4.    Cal Anderson Park Support
             There are concerns about the level of permanent activity at the park. There are at least 27
              tents on site and a group was digging a community garden. The tents appear to be a diverse
              set of protesters. SPU, Parks, and DM Sixkiller will follow up separately on the portable toilet
              strategy.



SPU, Parks to address the request for 17 port-a-potties

OEM will follow-up on secondhand information about persons being asked to show IDs.




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